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                                 IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OKLAHOMA


United States of America,

                                                       Plaintiff,
vs.                                                                           Case No.: 22-CR-115-JFH


Richard Dale Deeter Jr,                                                       AMENDED SCHEDULING ORDER
Donald B Pearson,
Jonna Elise Steele,
Johnny Wesley Boyd Sparks,
Izabella Marie Boling,
Nicole Cox,
                                                Defendant(s).


Following the reassignment of this case from Judge Eagan and at the direction of John F Heil, III, U.S.
District Judge, it is hereby ordered that:
 Joint status report regarding production of discovery due:                            12/9/2022
 Notices due:                                                                          12/9/2022
      Including all notices required by FRCrP and FRE, including Rule 16, 404(b), 412, 413, 414 or 609

 Motions and Objections to Notices due:                                                12/16/2022
      Absent good cause, motions in limine shall be filed by this date
      Motions for bill of particulars shall be filed pursuant to FRCrP 7(f)

 Pretrial conference:                                                                  1/6/2023          at 9:30 am
 Voir dire, jury instructions, stipulations, & trial briefs due:                       1/6/2023
 Witness and exhibit lists exchanged between counsel and                               1/12/2023         by 4:00 pm
 emailed to courtroom deputy (do not file):
 Three hard-copy exhibit binders delivered to Court:                                   1/12/2023         by 4:00 pm
 Jury trial (Tuesday):                                                                 1/17/2023         at 8:45 am
Due to the Court’s multi-district caseload, this schedule is relatively inflexible.
Pursuant to LCrR 47-2, any response shall be filed within seven days of any motion’s filing. Replies
are not permitted without leave of Court. If leave is granted, replies shall be limited to five pages.
Only one omnibus motion in limine per party and one motion to suppress per defendant is permitted
without leave of Court.
The Court shall summarily deny without prejudice any motion that does not comply with LCrR 47-4,
which requires a motion state on the first page whether or not it is opposed and, if opposed, state
whether concurrence was refused or explain why concurrence could not be obtained.



Scheduling Order                                                                                           (CR-04 Modified 2/2020)
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The parties should meet and confer in good faith to discuss any stipulations that would streamline the
issues at trial. Any stipulations agreed to should be submitted by the date listed.
If the parties anticipate a lengthy pretrial/motion hearing, they are directed to promptly contact the
Courtroom Deputy and the hearing will be reset.
If the parties anticipate a plea of guilty, they are directed to promptly contact the Courtroom Deputy
and a change of plea hearing (separate from the pretrial docket call) will be set. The parties must
provide a petition to enter plea of guilty and any plea agreement (if applicable) to the Court and file
any superseding information (if applicable) at least three business days prior to the change of plea
hearing.
Please review Judge Heil’s CRIMINAL GUIDELINES.

                                                 Mark C. McCartt,
                                                 Clerk of Court, United States District Court


                                                  s/ P Lynn
                                                 By: P Lynn, Deputy Clerk




Scheduling Order                                                                     (CR-04 Modified 2/2020)
